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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                )
In re:                                                          ) Chapter 11
                                                                )
HIGHLAND CAPITAL MANAGEMENT, L.P.,1                             ) Case No. 19-34054 (SGJ)
                                                                )
                                   Reorganized Debtor.          )
                                                                )

                         SUPPLEMENTAL CERTIFICATE OF SERVICE

      I, Aljaira Duarte, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Reorganized Debtor in the above-captioned
case.

        On October 14, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via First Class Mail upon the service list attached
hereto as Exhibit A:

        Omnibus Notice of Hearing on Final Applications for Compensation and
         Reimbursement of Expenses of Estate Professionals [Docket No. 2915]

       Furthermore, on October 15, 2021, at my direction and under my supervision, employees
of KCC caused the following document to be served via First Class Mail upon the service list
attached hereto as Exhibit B:

        Notice of Occurrence of Effective Date of Confirmed Fifth Amended Plan of
         Reorganization of Highland Capital Management, L.P. [Docket No. 2700]


Dated: October 21, 2021
                                                         /s/ Aljaira Duarte
                                                         Aljaira Duarte
                                                         KCC
                                                         222 N Pacific Coast Highway, Suite 300
                                                         El Segundo, CA 90245




1
 The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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                               EXHIBIT A
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                                                                    Exhibit A
                                                                MCS Capital LLC
                                                            Served via First Class Mail

                                     CreditorName                       Address1                City    State Zip
                               MCS Capital LLC c/o STC, Inc. 223 North Prospect St., Ste 202 Hagerstown MD   21740




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                               EXHIBIT B
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                                                                     Exhibit B
                                                                  Creditor Matrix
                                                             Served via First Class Mail

                                     CreditorName                         Address1          Address2      City   State    Zip
                          AMY JENKINS                              13455 NOEL RD            STE 800     Dallas   TX      75240
                          Amy Mitts                                13455 Noel Rd            Suite 800   Dallas   TX      75240
                          BENTLEY CALLAN                           13455 NOEL RD            STE 800     Dallas   TX      75240
                          BILL CORNELIUS                           13455 NOEL RD            STE 800     Dallas   TX      75240
                          BOYD GOSSERAND                           13455 NOEL RD            STE 800     Dallas   TX      75240
                          CLINT GILCHRIST                          13455 NOEL RD            STE 800     Dallas   TX      75240
                          COURTNEY ORENT                           13455 NOEL RD            STE 800     Dallas   TX      75240
                          Cummings Bay Capital Management, LP      13455 Noel Rd, Ste 800               Dallas   TX      75240
                          DAVID CRULL                              13455 NOEL RD            STE 800     Dallas   TX      75240
                          DAVID SMITH                              13455 Noel Rd            Ste 800     Dallas   TX      75240
                          EMERALD ORCHARD                          13455 NOEL RD            STE 800     Dallas   TX      75240
                          GUSTAVO PRILICK                          13455 Noel Rd, Ste 800               Dalals   TX      75240
                          HCM ACQUISITION COMPANY                  13455 NOEL RD            STE 800     Dallas   TX      75240
                          HIGHLAND ALL CAP EQUITY VALUE
                          FUND                                     13455 NOEL RD                        Dallas   TX      75240
                          HIGHLAND CAPITAL REAL ESTATE
                          ADVISORS                                 13455 NOEL RD                        Dallas   TX      75240
                          HIGHLAND CDO HOLDING COMPANY             13455 NOEL RD            STE 800     Dallas   TX      75240
                          HIGHLAND CDO OPPORTUNITY FUND            13455 NOEL RD            STE 800     Dallas   TX      75240
                          HIGHLAND CREDIT OPPORTUNITIES
                          FUND                                     13455 NOEL RD                        Dallas   TX      75240
                          HIGHLAND CREDIT STRATEGIES
                          FUND RIC                                 13455 NOEL RD STE 800                Dallas   TX      75240
                          HIGHLAND CRUSADER FUND                   13455 NOEL RD         STE 800        Dallas   TX      75240

                          Highland Employee Retention Assets LLC   13455 Noel Rd            Ste 800     Dallas   TX      75240
                          HIGHLAND FINANCIAL CORP                  13455 NOEL RD                        Dallas   TX      75240
                          HIGHLAND FINANCIAL REAL ESTATE
                          CORP                                     13455 NOEL RD                        Dallas   TX      75240
                          HIGHLAND FINANCIAL TRUST                 13455 NOEL RD                        Dallas   TX      75240
                          Highland Funds Asset Management          13455 Noel Rd            Ste 800     Dallas   TX      75240
                          HIGHLAND LOAN FUNDING V                  13455 NOEL RD            STE 800     Dallas   TX      75240
                          HIGHLAND SELECT EQUITY FUND              13455 NOEL RD                        Dallas   TX      75240
                          Highland Special Situations Fund         13455 Noel Rd                        Dallas   TX      75240
                          JASON GREEN                              13455 NOEL RD            STE 800     Dallas   TX      75240
                          JENNIFER JURRIUS                         13455 NOEL RD            STE 800     Dallas   TX      75240



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                                                                Exhibit B
                                                             Creditor Matrix
                                                        Served via First Class Mail

                                      CreditorName                Address1            Address2    City   State    Zip
                          KEN KAPADIA                      13455 NOEL RD              STE 800   Dallas   TX      75240
                          LARRY LINDSEY                    13455 NOEL RD              STE 800   Dallas   TX      75240
                          LAURA KNIPP                      13455 NOEL RD              STE 800   Dallas   TX      75240
                          Lauren Okada                     13455 Noel Rd              suite 800 Dallas   TX      75240
                          LESLIE HARRIS                    13455 NOEL RD              STE 800   Dallas   TX      75240
                          LINDY HEATHERINGTON              13455 NOELRD               STE 800   Dallas   TX      75240
                          Lisa Miller                      13455 Noel Rd                        Dallas   TX      75240
                          Luke Okada                       13455 Noel St              Suite 800 Dallas   TX      75240
                          Michael Hasenauer                13455 Noel Rd              Suite 800 Dallas   TX      75240
                          Michael McLochlin                13455 Noel Rd. Ste 800               Dallas   TX      75240
                          MICKEY MINCES                    13455 NOEL RD              STE 800 Dallas     TX      75240
                          MULTI-STRATEGY SUB FUND          13455 NOEL RD                        Dallas   TX      75240
                          NATALIE HARALSON                 13455 NOEL RD              STE 800 Dallas     TX      75240
                          NGUYEN, TIFFANY                  13455 NOEL RD #800                   DALLAS   TX      75240
                          REAL ESTATE FUND 2002-A          13455 NOEL RD              STE 800 Dallas     TX      75240
                          SCOTT BASHRUM                    13455 NOEL RD              STE 800 Dallas     TX      75240
                          Scott Groff                      13455 Noel Rd Suite 800              Dallas   TX      75240
                          SCOTT WILSON                     13455 NOEL RD                        Dallas   TX      75240
                          SHELBY NOBLE                     13455 NOEL RD                        Dallas   TX      75240
                          TAMRA APPLEGATE                  13455 NOEL RD                        Dallas   TX      75240
                          WILLIAM SMITH                    13455 NOEL RD              STE 800 Dallas     TX      75240




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